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David Gilbert Saffron
3600 Barham Blvd |

Unit X111

Toluca Lake 90068
Ovetsite2019@gmail.com

Plaintiff In Pro Per

PT _—Fitep RECEIVER"
____ ENTERED SERVED ON !
COUNSEL/PARTIES OF RECORD

APR 26 2021

CLERK US DISTRICT COURT
DISTRICT OF NEVADA
BY: eee

UNITED STATES DISTRICT COURT

DISTRICT OF NEVADA
COMMODITY FUTURES Case No. 21-cv-01697 JAD-DIA
TRADING COMMISSION,
MOTION TO AMEND OR ALTER
Plaintiff THE JUDGMENT UNDER RULE
59(e), OR IN THE ALTERNATIVE
VS. TO CORRECT ERRORS
a ARISING FROM OVERSIGHT
DAVID GILBERT SAFFRON OR OMISSION PURSUANT TO
A/K/A DAVID GILBERT AND © RULE 60(a)

CIRCLE SOCIETY, CORP.

Defendants.

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MOTION TO AMEND THE JUDGMENT PURSUANT TO RULE 59(c), OR IN THE
ALTERNATIVE, TO CORRECT ERRORS FROM OVERSIGHT OR OMISSION
PURSUANT TO RULE 60(a)
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TO THE COURT, ALL PARTIES, AND THEIR COUNSEL OF
RECORD:

NOTICE IS HEREBY GIVEN THAT ON Defendant David Gilbert Saffron

’ (“Saffron), in pro per, will and does hereby move this Court to amend or alter the
Final Judgment of Disgorgement, Civil Penalty, Restitution, and Permanent
Injunction, and the Judgment thereon, both entered on March 29, 2021. In the
alternative, Saffron moves to correct errors that perhaps arose from oversight or
omission pursuant to Rule 60(a).

Pursuant to Local Rule 1-4, Movant wrote to the Plaintiff to meet and
confer, prior to filing this Motion, offering to stipulate to amend and clarify the
Court’s Final Judgment. The meet and confer process occurred by email from

. Movant to the CFTC counsel on 4/23/2021The CFTC has not agreed to the relief
requested.

. This Motion is based on this Notice, the attached Memorandum of Points
and Authorities, the matters of which this Court may take judicial notice, and such

further argument and matters as may be offered at the time of the hearing.

Dated: April 25, 2021

By: /s/ David Gilbert Saffron, in Pro Per

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MOTION TO AMEND THE JUDGMENT PURSUANT TO RULE 59(e), OR IN THE
ALTERNATIVE, TO CORRECT ERRORS FROM OVERSIGHT OR OMISSION
PURSUANT TO RULE 60(a)
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MEMORANDUM OF POINTS AND AUTHORITIES

I. INTRODUCTION

Pursuant to Rule 59(e) of the Federal Rules of Civil Procedure, Saffron moves
to “alter or amend” the Final Judgment of Disgorgement, Civil Penalty, Restitution,
and Permanent Injunction (“Final Judgment”), and the J udoment thereon, both
entered on March 29, 2021. (Docket Nos. 112 and 113.) In the alternative, Saffron
moves, pursuant to Rule 60(a) of the Federal Rules to correct errors that perhaps
resulted from mistake or oversight. ,

The relief sought is based on the fact that the Final Judgment, as written and
entered, is inconsistent with the Court’s stated remarks at the hearing held on [need
date]. Further, the Final Judgment itself indicates that the Court “articulated [its]
findings and conclusions on the record, the transcript of the hearing serves as the
record of [its] ruling.” However, the written Final judgment is contrary to the
conclusions made by the Court in the transcript. Accordingly, Saffron requests this
Court to “amend or alter” the Final Judgment such that it is actually consisted with
the Court’s articulated remarks.

Finally, the Final Judgment is overbroad in two critical ways: First, as written,

it prohibits Saffron from holding, owning, buying or selling “commodities” for his

personal use or his own accord. Second, the order binds a whole host of persons

who never received any notice of this proceeding, and violates their due process

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rights, and effectively bars Saffron from doing business, banking, hiring counsel or
even a dry cleaner who happens to own, sell or trade in “commodities” on their own
accord. This cannot be what the Court intended, and Saffron submits that a minor
clarification will correct these oversights.

Prior to providing the Court the full legal basis for the Motion, Saffron
advises the Court that he does intend to satisfy the monetary elements of the
Judgment in full ifhe is able. This would require him to recover property that was
stolen, absconded or held by third parties. Saffron intends to provide the CFTC or
the Court with the proceeds of the property recovered in order to satisfy the
monetary aspects of the Judgment should he obtain that recovery. The issues that
arose that resulted in the default judgment arose directly from the CFTC’s untenable
position that Saffron was unable to hire counsel, pay counsel or even borrow money
to pay counsel. Nevertheless, Saffron intends to make good on the Judgment to the

extent that he succeeds in recovering his stolen property.

Il. STANDARD

A motion filed pursuant to Rule 59(e) must seek to “alter or amend” the
judgment. This means seeking a substantive change of mind by the court. See

United States ex rel. Hoggett v. University of Phoenix; 863 F3d 1105, 1108 (9% Cir.

2017). To obtain relief under Rule 59(e), a party usually must show “either that new

and important evidence, previously unavailable, has surfaced or that the original

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judgment was premised on a manifest error of law or fact.” Ira Green, Inc. v.

Military Sales & Service Co., 775 F3d 12, 28 (1% Cir. 2014). A motion to alter or
amend a judgment “may not be used to relitigate old matters, or to raise arguments
or present evidence that could have been raised prior to the entry of judgment.”
Exxon Shipping Co. v. Baker, 554 US 471, 485 (2008). Ifthe motion is filed within
28 days after the district court's entry of judgment, it is treated as a motion to alter or

amend the judgment under Rule 59(e). Lee-Thomas v. Prince George's County Pub.

Schools, 666 F3d 244, 247, fn. 4 (4" Cir. 2012).
But “clerical mistakes” in judgments arising from “oversight or omission”

may be corrected at any time on the court's own initiative or on motion of any party.

FRCP 60(a); Big Bear Lodging Ass'n v. Snow Summit, Inc. (9th Cir. 1999) 182 F3d
1096, 1106, fn. 7 (9 Cir. 1999); In re Walter (6th Cir. 2002) 282 F3d 434, 440 (6
Cir. 2002) ("basic purpose of ... rule is to authorize ... court to correct errors that
are mechanical in nature that arise from oversight or omission”). A “substantive”
motion (challenging judicial error) will be treated as a motion to alter or amend the
judgment under Rule 59(e) if filed no later than 28 days after entry of the judgment.
If filed thereafter, it will be treated as a motion for relief under Rule 60(b)

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Computerized Thermal Imaging, Ine. v. Bloomberg, L.P., supra, 312 F3d at 1296,

fn. 3).

IV. THE FINAL JUDGMENT SHOULD BE AMENDED TO ALLOW

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SAFFROM TO EARN A LIVING, TO PAY LAWYERS AND TO

HOLD COMMODITIES UNRELATED TO THE CONDUCT

COMPLAINED OF BY THE CFTC

At the hearing on March 19, 2021, the Court made clear that the remedy to
address any perceived overbreadth of the judgment was to “come to the Court and
you file a motion.” The CFTC’s harassing conduct has kept Saffron being able to
hire an attorney — they have been incessant in their harassment of counsel. (See
Declarations of Axelrod and Armenta).! Movant begs this Court to clarify the order
— prohibiting anyone who deals with Mr. Saffron from holding commodities or Mr.
Saffron from holding them, effectively, keeps him from ever being able to engage
counsel or deal in the modern world. Cryptocurrency is essentially a modern form
of currency — 33 million Americans hold cryptocurrency and more than 10% of
Americans. Keeping Saffron and his attorneys and others from even holding or
using it (even if it is completely unrelated to the conduct complained of in this
action) cannot be correct. It would be akin to sentencing a bank robber that he/she
can never hold dollar bills again.

Vv. THE FINAL JUDGMENT IS OVERBROAD

A. The Final Judgment, as Written, Prohibits Saffron From Holding,

I The Armenta Declaration was obtained by former counsel, a judgment creditor, in
connection with the motion for default judgment, but it was never filed.

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Owning, Buying or Selling “commodities” for his Personal Use or
His Own Accord.

In Commodity Futures Trading Comm'n v. McDonnell, the court concluded

that Bitcoins are commodities that can be regulated by the Commodities Futures
Trading Commission. 287 F. Supp. 3d 213, 228 (E.D.N.Y. 2018) (“Virtual
currencies are ‘goods’ exchanged in a market for a uniform quality and value. They
fall well-within the common definition of ‘commodity’ as well as the [Commodity
Exchange Act]'s definition of ‘commodities’ as ‘all other goods and articles ... in
which contracts for future delivery are presently or in the future dealt in.’ ”).
Accordingly, the Final Judgment, as written, prohibits Mr. Saffron from holding,
owning, buying selling cryptocurrency even for his own personal use. Never before
has any court entered an order that a person is prohibited from owning fiat (cash,
paper bills) for instance. How can a Court ban Mr. Saffron from holding what is, in
today’s world, acknowledged, as a form of digital currency? Mr. Saffron
acknowledges the Court’s intent, as stated in its remarks, is to keep him from trading
for others, accepting commodities from third parties or doing any of the things that
the CFTC alleges he did. However, the notion that Mr. Saffron cannot for life, hold
or own or sell his own cryptocurrency is massively overbroad.

B. The Final Judgment, as Written, is Overbroad as it Prohibits

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Innocent Non-Parties From Dealing In Commodities
Where the interests of innocent non-parties are implicated, the balance of

equities shifts with respect to the entry of an injunction. Sato & Company LLC v.

Kodiak Fresh Produce LLC, 334 F. Supp. 3d 1023 (Jan. 20, 2017). If the record

does not provide any evidence that an innocent third party received any tainted
funds or commodities, and their interests are likely to be harmed by an overbroad
injunction, equity weights against such an order. See id. at 1031.

The Final Judgment may suffer from a simple defect — it does not make clear
that the agents or persons on notice of the order are restrained only insofar as they
are engaged in “active concert” with Saffron. Such an interpretation would make
sense, but unfortunately, it is not what the Final Judgment actually says. The Final
Judgment lumps in the same restraints on anyone related to Mr. Saffron whether or
not they are acting for, with, on behalf of or in active concert with him:

“IT IS FURTHER ORDERED that David Gilbert Saffron a/k/a David

Gilbert and Circle Society, Corp and their agents, holding companies,

alter egos, including any of their successors, and those persons in

active concert or participation with them who received actual notice of

this order by personal service or otherwise, are permanently

restrained, enjoined, and prohibited from directly or indirectly ...

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Saffron proposes the Court change the opening paragraph as follows:

“IT IS FURTHER ORDERED that David Gilbert Saffron a/k/a David
Gilbert and Circle Society, Corp and holding companies, alter egos,
including any of their successors (“Saffron Parties) and any persons in
active concert with and on behalf of the Saffron Parties with respect to
‘the conduct complained of in the Complaint, who have actual notice
of this order are permanently restrained, enjoined, and prohibited

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from directly or indirectly ....”

Most significantly, the Final Judgment should make clear that innocent non-parties
who are not acting in concert with or on behalf of Mr. Saffron may go about their
routine business, whether that is holding cryptocurrency or other commodities on
their own behalf or practicing law or business in behalf of other clients, wholly
unrelated to Saffron, to do so. The Final Judgment appears to be unintentionally
overbroad as written and should be corrected so that persons who happen to be Mr.
Saffron’s agents (i.e. banks, lawyers, accountants, etc) may go about their business

as long as they do not dip into the world of the Saffron Parties vis-a-vis

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commodities.
Dated: April 25, 2021

By: /s/ David Gilbert Saffron

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DECLARATION OF BRAD LEE AXELROD

I, Brad Lee Axelrod, declare:

1. lam an attorney admitted to practice law in all Courts in the state of
California and a member in good standing before the State Bar of California. I have
had an attorney-client relationship with David Gilbert Saffron since approximately
July 21, 2018.

2. ° Ihave never held cryptocurrency for Mr. Saffron, nor has Mr. Saffron
ever traded in cryptocurrency on my behalf. Independently of Mr. Saffron, I do not
currently own and hold cryptocurrency on my own personal account. This has
nothing to do with Mr. Saffron and he has no ownership or other interests in my
own personal assets. I hold no assets of, nor have I ever held any assets of Mr.
Saffron, nor has he ever held any assets of mine; I have never traded for him and he
has never traded for me.

3. [have read the Final Judgment of Disgorgement, Civil Penalty,
Restitution and Permanent Injunction entered by this Court on March 29, 2021
(“Final Judgment”). I found the words in the Final Judgment to be disturbing and
overbroad as they apply to me. For instance, in Section C, entitled “Permanent
Injunction,” the injunction states that it applies to Saffron and “their agents, holding

companies, alter egos, including any of their successors, and those persons in active

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concert or participation with them or who received actual notice of this order by
personal service or otherwise.” I have received notice of this order in my capacity
as a legal advisor to Mr. Saffron. As a legal advisor and attorney to Mr. Saffron, I
am necessarily his “agent.” This does not mean that I intend to, have ever, or will
deal in any commodities relative to Mr. Saffron. However, the manner in which the
Final Judgment is worded, restrains me from doing the things listed in Section C.

4. The remedy may be as simple as inserting a few commas, as it is the
wording on lines 13-17 that do not limit the barred persons to those “in active
concert” with Mr. Saffron. If this is an error in drafting, as simply as correcting it
with a few Oxford comma’s, then it should be corrected.

5. Section C states that I may not engage in “trading on or subject to the
rules of any registered entity, as that terms is defined in 7 U.S.C. § 1a(40).
Essentially, this provision, as applied to me, means that for life, I am disabled and
barred from trading in commodities. I would not be able to trade on any
commodities exchanges, on my own behalf (and as completely unrelated to Mr.
Saffron) on the Chicago Board Options Exchange, the Chicago Board of Trade, the
Chicago Mercantile Exchange, COMEX, the Kansas City Board of Trade, the
Minneapolis Grain Exchange, the North American Derivatives Exchange, New

York Mercantile Exchange, New York Board of Trade, OneChicago. This cannot

be what the Court intended. I also object to this Final Judgment even applying to

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me, as I was never served nor given notice that such a Final Judgment would be
entered that would affect my lifetime rights.

6. Section C, subparagraph 3, states that the enjoined persons are
prohibited from “[ejntering into any transaction involving “commodity interests,” as

that term is defined in 17 C.F.R. § 1.3(yy), for their own personal use or for any

account in which they have a direct or indirect interest.” Again, as written, this

language appears to bar me personally or any trusts, companies or entities in which I
have a direct or indirect interest from trading in “commodity interests,” even if those
transactions are completely unrelated to Mr. Saffron. This cannot be what the Court
intended.

7. Section C, subparagraph 4, states that the enjoined persons are
prohibited from “[h]aving any commodity interests traded on their behalf.” Even
though I do not own any cryptocurrency — as written, this provision appears to bar
me from ever selling the cryptocurrencv I might have already owned through
cryptocurrency exchanges! This cannot be what the Court intended.

8. Section C, subparagraph 5, states that the enjoined persons are
prohibited from “[c]introlling or directing trading for on or behalf of any other
person or entity.” As written, this language appears to bar me from trading for my

own family members or even my children. This cannot be what the Court intended.

9. Section C, subparagraph 6, states that the prohibited persons are barred

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from “[sloliciting, receiving, or accepting any funds from any person for the purpose
of purchasing or selling any commodity interests.” As written, this language
appears to bar my and my law practice from engaging in what could be the normal
coursé of business — fulfilling directions of a client in a variety of transactions or
settlement contexts, in contexts that are completely unrelated to Mr. Saffron. Again,
this cannot be what the Court intended. .

10. Section C, subparagraphs 7 and 8 state that the prohibited persons are
barred from what would otherwise be routine aspects of engaging in registration or
activity subject to CFTC regulation. Again, this cannot be what the Court intended,
at least, insofar as any contemplated conduct is separate, apart and wholly unrelated
to Mr. Saffron or his businesses.

1. Section C, subparagraph 9, states that the prohibited persons are barred
from “[e]ngaging any business activities related to commodity interests.” This
paragraph is the most overbroad and most onerous. Read plainly, I am already in
violation of this order, by, for instance, simply owning any commodity, interests that
are, wholly unrelated to Mr. Saffron.

12. “Commodity interests” are defined in 17 C.F.R. § 1.3(yy) and means:
(1) Any contract for the purchase or sale of a commodity for future delivery; and (2)
' Any contract, agreement or transaction subject to Commission regulation under

section 4c or 19 of the Act. This includes futures, forex and/or swaps. This also

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includes bitcoin or other forms of cryptocurrency. Matthew Kluchenek, Bitcoin and
Virtual Currencies: Welcome to Your Regulator, Harv. Bus. L. Rev., at 2 (2016). It
is onerous, if not completely draconian, to impose such an order upon me or upon
other persons related to Mr. Saffron, provided I am not and they are not engaging in
these activities with or on behalf of Mr. Saffron. I object to this Final Judgment and
its wording, insofar as its plain language appears to apply to me and a host of
entities and persons who might do business or act as his “agents” in matters
unrelated to commodities.

13. Ifrelief is not granted, I will file my own motion or lawsuit or retain
competent Nevada counsel, however, I have attempted to avoid that as I am just
recovering from serious cervical spinal surgery and am doing my best to recover and

use my limited economic resources towards my health at this time.

I declare under the penalty of perjury under the laws of the United States of
America that the foregoing is true and correct and that I executed this Declaration
on April 25, 2021 in Los Angeles, California.

Brad Lee od,
Declarant

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